        Case 2:24-cv-01034-MSG Document 47-1 Filed 09/30/24 Page 1 of 2




                         UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA


 HUDA FAKHREDDINE, TROUTT
 POWELL, and PENN FACULTY FOR
 JUSTICE IN PALESTINE,
                                                    No. 2:24-cv-01034 (MSG)
                                Plaintiffs,
         v.

 THE UNIVERSITY OF PENNSYLVANIA,

                                Defendant.


                           DECLARATION OF DAVID GRINGER

        I, David Gringer, declare as follows:
        1.      I am a partner at Wilmer Cutler Pickering Hale and Dorr LLP. I represent the

University of Pennsylvania in the above-captioned action. I am familiar with the facts set forth

in this declaration.

        2.      I submit this declaration in support of Penn’s Motion to Dismiss Plaintiffs’

Amended Complaint with Prejudice.

        3.      On January 24, 2024, Representative Virginia Foxx, current Chairwoman of the

House Committee on Education and the Workforce (HEW) sent a letter to Mr. Ramanan

Raghavendran, Chairman of Penn’s Board of Trustees, and Dr. Larry Jameson, Interim President

of Penn, requesting Penn produce documents on 25 enumerated topics.

        4.      In Penn’s submissions to HEW, Penn has affirmed its intent to comply with all

legal obligations, including the privacy protections guaranteed to students under the Family

Educational Rights and Privacy Act (20 U.S.C. § 1232g) (FERPA).

        5.      As I explained in my May 7, 2024 declaration in support of Penn’s Motion to

Dismiss, Penn had, at that point in time, “made limited redactions of personally identifiable

information, including names, email addresses, phone numbers, and addresses, as well as student
        Case 2:24-cv-01034-MSG Document 47-1 Filed 09/30/24 Page 2 of 2




education record information in accordance with the Family Educational Rights and Privacy Act

(20 U.S.C. § 1232g)” in its production of documents to HEW. ECF No. 29-2, ¶ 4.

       6.      On July 17, 2024, HEW demanded that the University remove redactions other

than student names. Penn determined that it would accede to HEW’s demand, but only to the

extent it does not conflict with any laws or regulations (including FERPA).

       7.      On July 29, 2024, Penn informed Plaintiffs of the information Penn would no

longer redact, and that Penn will continue redacting certain information like faculty home

addresses and personal phone numbers. HEW has not, to date, indicated any concern with this

practice, nor has it demanded that this information be unredacted.

       8.      Penn has asked that HEW treat its productions confidentially and that it provide

Penn with notice and a meaningful opportunity to object in the event the Committee decides to

publicly disclose any of the documents Penn has produced. Penn also intends to request that

HEW provide Penn with the opportunity to redact non-public PII before any public disclosure by

HEW.

       9.      Attached as Exhibit 1 is a true and correct copy of the January 24, 2024 letter

from Rep. Foxx to Mr. Raghavendran and Dr. Jameson cited at page 2 of Penn’s brief.

       10.     Attached as Exhibit 2 is a true and correct copy of the August 29, 2024 article by

Huda Fakhreddine cited at page 5 of Penn’s brief.

       I declare under penalty of perjury that the foregoing is true and correct.

       Executed on September 30, 2024, at Palo Alto, California.



       Dated: September 30, 2024                             /s/ David Gringer

                                                              David Gringer




                                                 2
